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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF PENNSYLVANIA


UNITED STATES OF AMERICA                              )
                                                      )
             v.                                       )      Criminal No. 18-292
                                                      )
ROBERT BOWERS                                         )


                                      ORDER OF COURT

       The Court orders as follows:

       (1) The Court will maintain custody and ensure the integrity of all admitted exhibits,

except firearms exhibits, throughout the pendency of any appeals or Section 2255 proceedings or

other collateral litigation in this case. Upon request, the Court will make those exhibits

reasonably available to counsel for either party, for review and copying.

       (2) Admitted firearms exhibits will be returned to the government. The government will

maintain custody and ensure the integrity of those exhibits. Upon request, the government will

also make those exhibits reasonably available to counsel for Robert Bowers for review.

       (3) No exhibit shall be destroyed unless counsel for each party is notified and consents in

writing.




August 8, 2023___________                             /s/Robert J. Colville_______
                                                      Robert J. Colville
                                                      United States District Judge
